






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00106-CR


NO. 03-11-00107-CR







Ex parte Russell Dale Mortland







FROM THE DISTRICT COURT OF HAYS COUNTY, 22ND JUDICIAL DISTRICT


NOS. CR-05-0582-C &amp; CR-05-0583-C, HONORABLE WILLIAM HENRY, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant Russell Dale Mortland appeals orders denying relief in these article 11.072
post-conviction habeas corpus proceedings.  See Tex. Code Crim. Proc. Ann. art. 11.072 (West
2005).  We affirm.

On November 29, 2007, Mortland was convicted for retaliation (cause number
CR-05-0583) and three counts of fraudulently filing a financing statement (cause number
CR-05-0582).  He was sentenced to ten years' imprisonment for the retaliation and twenty-four
months in state jail for each of the fraud counts.  Imposition of sentence was suspended in
both&nbsp;causes, and Mortland was placed on community supervision.  On appeal, this Court reversed
the&nbsp;conviction on the third fraud count and ordered that count dismissed; the other convictions
were&nbsp;affirmed.  Mortland v. State, Nos. 03-08-00029-CR &amp; 03-08-00030-CR (Tex. App.--Austin
Dec.&nbsp;30, 2008, pet. ref'd) (mem. op., not designated for publication).

In his writ applications, Mortland contends that the evidence does not support the
district court's order that he pay $450 in each cause to reimburse the attorney appointed as
standby&nbsp;counsel at Mortland's trial, where he chose to represent himself.  See Mayer v. State,
309&nbsp;S.W.3d&nbsp;552, 556 (Tex. Crim. App. 2010).  Setting aside whether this is a proper ground for
post-conviction habeas corpus relief, the district court judgments do not order the payment of
attorney's fees, and there is no other evidence in the record that such payment was ordered.

The orders denying relief are affirmed.



				__________________________________________

				Melissa Goodwin, Justice

Before Justices Puryear, Rose and Goodwin

Affirmed

Filed:   August 11, 2011

Do Not Publish


